                                                                                                                    Entered on Docket
                                                                                                                    September 09, 2019
                                                                                                                    EDWARD J. EMMONS, CLERK
                                                                                                                    U.S. BANKRUPTCY COURT
                                                                                                                    NORTHERN DISTRICT OF CALIFORNIA

                                                                   1   Jeffrey N. Pomerantz (CA Bar No. 143717)
                                                                       Jeremy V. Richards (CA Bar No. 102300)
                                                                   2   Malhar S. Pagay (CA Bar No. 189289)
                                                                       Steven J. Kahn (CA Bar No. 76933)      The following constitutes the order of the Court.
                                                                       Pachulski Stang Ziehl & Jones LLP      Signed: September 9, 2019
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                                                                                                    th
                                                                       10100 Santa Monica Blvd., 13 Floor
                                                                   4   Los Angeles, CA 90067
                                                                       Telephone: 310.277.6910                _________________________________________________
                                                                                                              M. Elaine Hammond
                                                                   5   Facsimile: 310.201.0760                U.S. Bankruptcy Judge
                                                                       Email: jpomerantz@pszjlaw.com
                                                                   6           jrichards@pszjlaw.com
                                                                               mpagay@pszjlaw.com
                                                                   7
                                                                       Henry C. Kevane (CA Bar No. 125757)
                                                                   8   Pachulski Stang Ziehl & Jones LLP
                                                                       150 California St., 15th Floor
                                                                   9   San Francisco, CA 94111
                                                                       Telephone: 415.263.7000
                                                                  10   Facsimile: 415.263.7010
                                                                       Email: hkevane@pszjlaw.com
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       Proposed Attorneys for Home Loan Center, Inc.
                                                                  12
                                                                                                    UNITED STATES BANKRUPTCY COURT
                                        LOS ANGELES, CALIFORNIA




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                                           ATTORNEYS AT LAW




                                                                                                    NORTHERN DISTRICT OF CALIFORNIA
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                                                                                                                SAN JOSE DIVISION
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                                                                       In re:                                                Case No.: 19-51455 (MEH)
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                                                                       HOME LOAN CENTER, INC.,                               Chapter 11
                                                                  17
                                                                                                                             ORDER APPROVING STIPULATION
                                                                  18                                                         REGARDING CONTINUANCE OF
                                                                                                      Debtor.                HEARINGS AND RELATED
                                                                  19                                                         DISCOVERY
                                                                  20                                                         Date: September 24, 2019
                                                                                                                             Time: 10:00 a.m.
                                                                  21                                                         Place: Courtroom 11
                                                                  22                                                                280 South First Street
                                                                                                                                    San Jose, CA 95113
                                                                  23                                                         Judge: Hon. M. Elaine Hammond
                                                                  24

                                                                  25            A Stipulation Modifying Stipulation Regarding Continuance of August 29, 2019 Hearings
                                                                  26   and Related Discovery (the “Stipulation”) was filed by (1) Home Loan Center, Inc. (“HLC”), (2)
                                                                  27   ResCap Liquidating Trust (“ResCap”), (3) Lending Tree, LLC and Lending Tree, Inc. (collectively,
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                                                                   Case: 19-51455         Doc# 90    Filed: 09/09/19   Entered: 09/09/19 14:21:37       Page 1 of 3
                                                                   1   “Lending Tree”), and (4) Douglas Lebda (collectively, the “Stipulation Parties”). Having reviewed

                                                                   2   the Stipulation, and good cause appearing, the Court HEREBY ORDERS that:

                                                                   3              1.       The Stipulation is approved; and

                                                                   4              2.       The Order Approving Prior Stipulation1 is modified as follows:

                                                                   5                       (a)      The hearings on the Conversion Motion, the RFS Motion, the Bank Account

                                                                   6              Motion, the Procedures Motion, and the W&C Engagement Motion shall be removed from

                                                                   7              the Court’s calendar as withdrawn, without prejudice;

                                                                   8                       (b)      Oppositions to the A&B Engagement Motion and/or the PSZJ Engagement

                                                                   9   Motion by ResCap, the United States Trustee and any other party in interest are due on September 6,

                                                                  10   2019;

                                                                  11                       (c)      Replies in support of said motions are due seven (7) days before the Hearing
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   Date; and
                                        LOS ANGELES, CALIFORNIA




                                                                  13                       (d)      Exhibit and witness lists are due seven (7) days before the Hearing Date.
                                           ATTORNEYS AT LAW




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                                                                  15                                                    **END OF ORDER**

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                                                                           Capitalized terms used but not defined herein have the meanings ascribed to them in the Stipulation.
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                                                                   Case: 19-51455            Doc# 90       Filed: 09/09/19         Entered: 09/09/19 14:21:37             Page 2 of 3
                                                                   1   COURT SERVICE LIST:
                                                                   2   All ECF Participants
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P ACHULSKI S TANG Z IEHL & J ONES LLP




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                                        LOS ANGELES, CALIFORNIA




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                                           ATTORNEYS AT LAW




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